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                   UNITED STATES DISTRICT COURT FOR THE
               NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION


CHARLES WORTHAM, a minor, by his mother, )
SHAKITA WATKINS, and SHAKITA WATKINS, )
Individually,                            )
                                         )
       Plaintiffs,                       )
                                         )
       v.                                )                 No:     16 CV 5073
                                         )
UNITED STATES OF AMERICA and MT.         )
SINAI HOSPITAL MEDICAL CENTER OF         )
CHICAGO                                  )
                                         )
       Defendants.                       )

                              AMENDED COMPLAINT AT LAW

      NOW COMES, the Plaintiff, CHARLES WORTHAM, a minor, by SHAKITA

WATKINS, his mother and SHAKITA WATKINS Individually; by and through their attorneys,

THE BRYANT LAW GROUP, LLC., and for their Amended Complaint at Law against

Defendants, UNITED STATES OF AMERICA and MOUNT SINAI HOSPITAL MEDICAL

CENTER OF CHICAGO, state as follows:

                               JURISDICTION AND VENUE

   1. This action arises under the Federal Tort Claims Act (“FTCA”), 28 U.S.C §§ 2671 et seq.

   2. This action stems from a birth injury by minor baby Charles Wortham, who was born at

      Mt. Sinai Hospital in Chicago, Illinois on April 13, 2013.

   3. On April 10, 2015 Plaintiffs Shakita Watkins, individually as representative for her minor

      son, Charles Wortham (hereinafter “Plaintiffs”), filed a medical negligence suit in the

      Circuit Court of Cook County Illinois (case # 15 L 00363) against Access Community

      Health Network, Mount Sinai Hospital Medical Center, Leonard Feinkind, M.D., Charles
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   Lampley, M.D., Lamuel Shaffer, M.D. and Alyssa Van Dyk, M.D.

4. On Friday April 10, 2015 Plaintiffs presented by mail (regular U.S. mail and courier

   service) two (2) administrative tort claims, which were received on April 13, 2015 by the

   United States Department of Health & Human Services (“HHS”) under the FTCA against

   Access Community Health Network, Leonard Feinkind, M.D., Charles Lampley, M.D.

   and Lamuel Shaffer, M.D. for personal injuries suffered by CHARLES WORTHAM, a

   minor, stemming from medical negligence (See acknowledgment of receipt by HHS

   attached hereto as Exhibit A).

5. Prior to a determination in said administrative tort claims, the United State Attorney

   General’s Office filed a motion to remove defendants Access Community Health

   Network, Leonard Feinkind, M.D., Charles Lampley, M.D. and Lamuel Shaffer, M.D.

   and filed a motion to dismiss for failure to exhaust administrative remedies, which was

   granted on October 22, 2015.

6. On January 4, 2016 HHS denied the administrative claims.

7. Now that the administrative claims have been denied by HHS and the administrative

   claims have been exhausted, Plaintiffs have elected to file suit against the UNITED

   STATES OF AMERICA (“USA”) in the United States District Court for the Northern

   District of Illinois, pursuant to 28 U.S.C §§ 2401(b).

8. Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §1346(b), in which the

   District Court shall have exclusive jurisdiction of civil actions on claims against the

   United States for money damages for personal injury by the negligent or wrongful

   act or omission of any employee of the government while acting within the scope of

   his office or employment, under circumstances where the United States, if a private
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   person, would be liable to the claimant in accordance with the laws of the State of

   Illinois.

9. Venue is proper under 28 U.S.C. § 1391(b) because all of the acts and omissions forming

   the basis of this claim occurred in the Northern District of Illinois.

10. On or about April 13, 2013, and at all times material ACCESS COMMUNITY HEALTH

   NETWORK ("ACCESS") was an Illinois Not-for-Profit Corporation operating and doing

   business in the City of Chicago, Cook County, Illinois, receiving grant money from the

   UNITED STATES PUBLIC HEALTH SERVICE, pursuant to 42 U.S.C. §233, as well

   as being the employer of various physicians, nurses and healthcare workers.

11. On or about April 13, 2013, and at all times material, LEMUEL SHAFFER,

   M.D. ("DR. SHAFFER") was an agent, servant, and/or employee of ACCESS and

   USA.

12. On or about April 13, 2013, and at all times material, CHARLES LAMPLEY,

   M.D. ("DR. LAMPLEY") was an agent, servant, and/or employee of ACCESS and

   USA.


13. On or about April 13, 2013, and at all times material, LEONARD FEINKIND,

   M.D. ("DR. FEINKIND") was an agent, servant, and/or employee of ACCESS and

   USA.

14. Defendant, USA, has been deemed the employer of DR. SHAFFER, DR. LAMPLEY,

   DR. FEINKIND and ACCESS, pursuant to 42 U.S.C. §233, for Federal Tort Claims

   Act purposes only. (See Declaration of Meredith Torres Attached hereto as Exhibit

   B).
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                                           COUNT I
                           (Medical Negligence – Dr. Lemuel Shaffer)


   15. On or about April 13, 2013, and at all times material, MOUNT SINAI HOSPITAL

       MEDICAL CENTER OF CHICAGO (“MOUNT SINAI”) was an Illinois Not-For-Profit

       Corporation operating as a general hospital licensed by the State of Illinois in the City of

       Chicago.

       16.     On or about April 13, 2013, and all times material, MOUNT SINAI held itself out

to the public generally as a provider of medical and nursing services.

       17.     On or about April 13, 2013, and at all times material, ACCESS COMMUNITY

HEALTH NETWORK (“ACCESS”) was an Illinois Not-For-Profit Corporation operating doing

business in the City of Chicago, Cook County, Illinois.

       18.     On or about April 13, 2013, and all times material, ACCESS held itself out to the

public generally as a provider of medical services.

       19.     On or about April 13, 2013, and all times materials, DR. SHAFFER was a

physician licensed to practice medicine in the State of Illinois, specializing in obstetrics.

       20.     On or about April 13, 2013, and all times material, USA undertook to employ Dr.

SHAFFER and ACCESS for the purpose of providing medical services to individuals like

SHAKITA WATKINS and CHARLES WORTHAM.

       21.     On or about April 13, 2013, and all times material, MOUNT SINAI undertook to

employ obstetricians, such as DR. SHAFFER, for the purpose of providing medical services to

individuals like SHAKITA WATKINS and CHARLES WORTHAM.

       22.     On or about April 13, 2013, and all times material, ACCESS undertook to employ

obstetricians, such as DR. SHAFFER, for the purpose of providing medical services to
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individuals like SHAKITA WATKINS and CHARLES WORTHAM.

       23.       On or about April 13, 2013, and all times materials, DR. SHAFFER was a

member of the staff of MOUNT SINAI.

       24.       On or about April 13, 2013, and all times materials, DR. SHAFFER was a

member of the staff of ACCESS.

       25.       On April 13, 2013, SHAKITA WATKINS was admitted to the labor and delivery

department of MOUNT SINAI.

       26.       On April 13, 2013, DR. SHAFFER provided medical care and treatment to

SHAKITA WATINS and CHARLES WORTHAM, in that he managed the labor of SHAKITA

WATKINS and delivered CHARLES WORTHAM.

       27.       While providing medical care and treatment the SHAKITA WATKINS and

CHARLES WORTHAM, DR. SHAFFER was doing so as an employee and agent of USA.

       28.       While providing medical care and treatment to SHAKITA WATINS and

CHARLES WORTHAM, DR. SHAFFER had a duty to possess and apply the knowledge and

use the skill and care that a reasonably careful obstetrician would use in the same or similar

circumstances.

       29.       Defendant, USA, by and through its employee and agent and/or apparent agent,

DR. SHAFFER, breached its duties and was negligent in one or more of the following respects:

                 (a) Failed to obtain proper informed consent prior to attempting a vaginal
                     delivery;
                 (b) Failed to order a c-section in a timely manner;
                 (c) Applied excessive traction during the delivery of Charles Wortham;
                 (d) Performed or ordered an episiotomy while infant still at plus 2 station.


       30.       As a direct and proximate result of one or more of the foregoing negligent acts

and/or omissions of the Defendant, USA, by and through its employee and agent and/or apparent
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agent, DR. SHAFFER and ACCESS, CHARLES WORTHAM suffered personal and pecuniary

injuries, including, but not limited to, brachial plexus palsy.

         31.    Attached as Exhibit C are affidavits and reports in compliance with 735 ILCS 5/2-

622.

         WHEREFORE, the Plaintiff, CHARLES WORTHAM, a minor, by SHAKITA

 WATKINS, his mother, demands judgment against Defendant, UNITED STATES OF

 AMERICA, in a sum of money in excess of the jurisdictional limits of this Court that will fairly

 and adequately compensate the Plaintiff for his loss.

                                                 COUNT II

                           (Family Expense Act – United States of America)

NOW COMES, the Plaintiff, SHAKITA WATKINS, individually; and by and through her

attorneys, The Bryant Law Group, LLC., and complaining of Defendant, United States of

America., states as follows:

   32. Plaintiff, SHAKITA WATKINS, individually, restates, realleges and incorporates by

         reference paragraphs 1 through 31 of Count I, including all subparagraphs, as paragraph

         32 of Count II.

         33.    CHARLES WORTHAM is a minor; and SHAKITA WATKINS is his mother,

 and as such has become liable for substantial pecuniary amounts arising out of CHARLES

 WORTHAM’s injuries. The recovery of the above-mentioned expenses is set forth under the

 provisions of the Family Expense Act, 750 ILCS 65/15.

         WHEREFORE, the Plaintiff, SHAKITA WATKINS, individually; demands judgment

 against Defendants, UNITED STATES OF AMERICA, in such an amount in excess of the

 jurisdictional limits of this Court that will fairly and adequately compensate the Plaintiff for his
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 loss.

                                                 COUNT III

                               (Negligence – Dr. Charles Lampley)

   34. On or about April 13, 2013, and at all times material, MOUNT SINAI HOSPITAL

         MEDICAL CENTER OF CHICAGO (“MOUNT SINAI”) was an Illinois Not-For-Profit

         Corporation operating as a general hospital licensed by the State of Illinois in the City of

         Chicago.

         35.    On or about April 13, 2013, and all times material, MOUNT SINAI held itself out

to the public generally as a provider of medical and nursing services.

         36.    On or about April 13, 2013, and at all times material, ACCESS COMMUNITY

HEALTH NETWORK (“ACCESS”) was an Illinois Not-For-Profit Corporation operating doing

business in the City of Chicago, Cook County, Illinois.

         37.    On or about April 13, 2013, and all times material, ACCESS held itself out to the

public generally as a provider of medical services.

         38.    On or about April 13, 2013, and all times materials, DR. LAMPLEY was a

physician licensed to practice medicine in the State of Illinois, specializing in obstetrics.

         39.    On or about April 13, 2013, and all times material, USA undertook to employ Dr.

LAMPLEY and ACCESS for the purpose of providing medical services to individuals like

SHAKITA WATKINS and CHARLES WORTHAM.

         40.    On or about April 13, 2013, and all times material, MOUNT SINAI undertook to

employ obstetricians, such as DR. LAMPLEY, for the purpose of providing medical services to

individuals like SHAKITA WATKINS and CHARLES WORTHAM.

         41.    On or about April 13, 2013, and all times material, ACCESS undertook to employ
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obstetricians, such as DR. LAMPLEY, for the purpose of providing medical services to

individuals like SHAKITA WATKINS and CHARLES WORTHAM.

       42.       On April 13, 2013, SHAKITA WATKINS was admitted to the labor and delivery

department of MOUNT SINAI.

       43.       On April 13, 2013, DR. LAMPLEY provided medical care and treatment to

SHAKITA WATINS and CHARLES WORTHAM, in that he managed the labor of SHAKITA

WATKINS and delivered CHARLES WORTHAM.

       44.       While providing medical care and treatment the SHAKITA WATKINS and

CHARLES WORTHAM, DR. LAMPLEY was doing so as an employee and agent of USA.

       45.       While providing medical care and treatment to SHAKITA WATINS and

CHARLES WORTHAM, DR. LAMPLEY had a duty to possess and apply the knowledge and

use the skill and care that a reasonably careful obstetrician would use in the same or similar

circumstances.

       46.       Defendant, USA, by and through its employee and agent and/or apparent agent,

DR. LAMPLEY, breached its duties and was negligent in one or more of the following respects:

       (a)   Failed to obtain proper informed consent prior to attempting a vaginal delivery;
       (b)   Failed to order a c-section in a timely manner;
       (c)   Applied excessive traction during the delivery of Charles Wortham;
       (d)   Performed or ordered an episiotomy while infant still at plus 2 station.


   47. As a direct and proximate result of one or more of the foregoing negligent acts and/or

       omissions of the Defendant, USA, by and through its employee and agent and/or apparent

       agent, DR. LAMPLEY and ACCESS, CHARLES WORTHAM suffered personal and

       pecuniary injuries, including, but not limited to, brachial plexus palsy.

       48.       Attached as Exhibit C are affidavits and reports in compliance with 735 ILCS 5/2-
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622.

         WHEREFORE, the Plaintiff, CHARLES WORTHAM, a minor, by SHAKITA

 WATKINS, his mother, demands judgment against Defendant, UNITED STATES OF

 AMERICA, in a sum of money in excess of the jurisdictional limits of this Court that will fairly

 and adequately compensate the Plaintiff for his loss.



                                         COUNT IV
                        (Family Expense Act – United States of America)

         NOW COMES, the Plaintiff, SHAKITA WATKINS, individually; and by and through

her attorneys, The Bryant Law Group, LLC., and complaining of Defendant, United States of

America., states as follows:

   49.          Plaintiff, SHAKITA WATKINS, individually, restates, realleges and incorporates

         by reference paragraphs 34 through 48 of Count III, including all subparagraphs, as

         paragraph 49 of Count IV.

   50. CHARLES WORTHAM is a minor; and SHAKITA WATKINS is his mother, and as

         such has become liable for substantial pecuniary amounts arising out of CHARLES

         WORTHAM’s injuries. The recovery of the above-mentioned expenses is set forth under

         the provisions of the Family Expense Act, 750 ILCS 65/15.

         WHEREFORE, the Plaintiff, SHAKITA WATKINS, individually; demands judgment

   against Defendants, UNITED STATES OF AMERICA, in such an amount in excess of the

   jurisdictional limits of this Court that will fairly and adequately compensate the Plaintiff for

   his loss.

                                             COUNT V
                               (Negligence – Dr. Leonard Feinkind)
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   51. On or about April 13, 2013, and at all times material, MOUNT SINAI HOSPITAL

       MEDICAL CENTER OF CHICAGO (“MOUNT SINAI”) was an Illinois Not-For-Profit

       Corporation operating as a general hospital licensed by the State of Illinois in the City of

       Chicago.

       52.     On or about April 13, 2013, and all times material, MOUNT SINAI held itself out

to the public generally as a provider of medical and nursing services.

       53.     On or about April 13, 2013, and at all times material, ACCESS COMMUNITY

HEALTH NETWORK (“ACCESS”) was an Illinois Not-For-Profit Corporation operating doing

business in the City of Chicago, Cook County, Illinois.

       54.     On or about April 13, 2013, and all times material, ACCESS held itself out to the

public generally as a provider of medical services.

       55.     On or about April 13, 2013, and all times materials, DR. FEINKIND was a

physician licensed to practice medicine in the State of Illinois, specializing in obstetrics.

       56.     On or about April 13, 2013, and all times material, USA undertook to employ DR.

FEINKIND and ACCESS for the purpose of providing medical services to individuals like

SHAKITA WATKINS and CHARLES WORTHAM.

       57.     On or about April 13, 2013, and all times material, ACCESS undertook to employ

obstetricians, such as DR. FEINKIND, for the purpose of providing medical services to

individuals like SHAKITA WATKINS and CHARLES WORTHAM.

       58.     On or about April 13, 2013, and all times materials, DR. FEINKIND was a

member of the staff of MOUNT SINAI.

       59.     On or about April 13, 2013, and all times materials, DR. FEINKIND was a

member of the staff of ACCESS.
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       60.       On April 13, 2013, SHAKITA WATKINS was admitted to the labor and delivery

department of MOUNT SINAI.

       61.       On April 13, 2013, DR. FEINKIND provided medical care and treatment to

SHAKITA WATINS and CHARLES WORTHAM, in that he managed the labor of SHAKITA

WATKINS and delivered CHARLES WORTHAM.

       62.       While providing medical care and treatment the SHAKITA WATKINS and

CHARLES WORTHAM, DR. FEINKIND was doing so as an employee and agent of USA.

       63.       While providing medical care and treatment to SHAKITA WATINS and

CHARLES WORTHAM, DR. FEINKIND had a duty to possess and apply the knowledge and

use the skill and care that a reasonably careful obstetrician would use in the same or similar

circumstances.

       64.       Defendant, USA, by and through its employee and agent and/or apparent agent,

DR. FEINKIND, breached its duties and was negligent in one or more of the following respects:


                 Failed to order follow-up biometrics following the results of biometrics exam of
                 March 9, 2013, at which time the AC was at the 91st percentile and the HC was at
                 the 15th percentile, which should have prompted Dr. Feinkind to recommend to
                 Dr. Lampley that follow-up evaluations were necessary.

       65.       As a direct and proximate result of one or more of the foregoing negligent acts

and/or omissions of the Defendant, UNITED STATES OF AMERICA, by and through its

employee and agent and/or apparent agents, DR. FEINKIND and ACCESS, CHARLES

WORTHAM suffered personal and pecuniary injuries, including, but not limited to, brachial

plexus palsy.

       66.       Attached as Exhibit C are affidavits and reports in compliance with 735 ILCS 5/2-

622.
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          WHEREFORE, the Plaintiff, CHARLES WORTHAM, a minor, by SHAKITA

WATKINS, his mother, demands judgment against Defendant, UNITED STATES OF

AMERICA, in a sum of money in excess of the jurisdictional limits of this Court that will fairly

and adequately compensate the Plaintiff for his loss.

                                         COUNT VI
                   (Family Expense Act – UNITED STATES OF AMERICA)

          NOW COMES, the Plaintiff, SHAKITA WATKINS, individually; and by and through

her attorneys, The Bryant Law Group, LLC., and complaining of Defendants, ACCESS

COMMUNITY HEALTH NETWORK; and LEONARD FEINKIND, M.D., state as follows:

    67.          Plaintiff, SHAKITA WATKINS, individually, restates, realleges and incorporates

          by reference paragraphs 51 through 66 of Count V, including all subparagraphs, as

          paragraphs 67 of Count VI.

          68.    CHARLES WORTHAM is a minor; and SHAKITA WATKINS is his mother,

and as such has become liable for substantial pecuniary amounts arising out of CHARLES

WORTHAM’s injuries. The recovery of the above-mentioned expenses is set forth under the

provisions of the Family Expense Act, 750 ILCS 65/15.

          WHEREFORE, the Plaintiff, SHAKITA WATKINS, individually; demands judgment

against Defendants, UNITED STATES OF AMERICA, in such an amount in excess of the

jurisdictional limits of this Court that will fairly and adequately compensate the Plaintiff for his

loss.


                                        COUNT XIII
            (Negligence – Mount Sinai Hospital Medical Center of Chicago - Nurses)

          NOW COMES, the Plaintiff, CHARLES WORTHAM, a minor, by SHAKITA

WATKINS, his mother; and by and through her attorneys, The Bryant Law Group, LLC, and
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complaining of Defendants, MOUNT SINAI HOSPITAL MEDICAL CENTER OF CHICAGO,

state as follows:

   69. On or about April 13, 2013, and at all times material, MOUNT SINAI HOSPITAL

       MEDICAL CENTER OF CHICAGO (“MOUNT SINAI”) was an Illinois Not-For-Profit

       Corporation operating as a general hospital licensed by the State of Illinois in the City of

       Chicago.

       70.       On or about April 13, 2013, and all times material, MOUNT SINAI held itself out

to the public generally as a provider of medical and nursing services.

       71.       On or about April 13, 2013, and all times material, MOUNT SINAI undertook to

employ nurses for the purpose of providing nursing services to individuals like SHAKITA

WATKINS and CHARLES WORTHAM.

       72.       On or about April 13, 2013, SHAKITA WATKINS was admitted to the labor and

delivery department of MOUNT SINAI.

       73.       On April 13, 2013, nurses provided medical care and treatment to SHAKITA

WATINS and CHARLES WORTHAM, during the labor of SHAKITA WATKINS and delivery

of CHARLES WORTHAM.

       74.       While providing nursing care and treatment to SHAKITA WATKINS and

CHARLES WORTHAM, the nurses were doing so as employees and agents of MOUNT SINAI.

       75.       While providing nursing care and treatment to SHAKITA WATINS and

CHARLES WORTHAM, the nurses had a duty to possess and apply the knowledge and use the

skill and care that a reasonably careful labor and delivery nurse would use in the same or similar

circumstances.

       76.       Defendant, MOUNT SINAI, by and through its nurses, breached its duties and
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was negligent in one or more of the following respects:

                (a) Failed to properly assess SHAKITA WATKINS;
                (b)Failed to advocate for SHAKITA WATKINS and CHARLES WORTHAM.

       77.      As a direct and proximate result of one or more of the foregoing negligent acts

and/or omissions of the Defendant, MOUNT SINAI, by and through its nurses, CHARLES

WORTHAM suffered personal and pecuniary injuries, including, but not limited to, brachial

plexus palsy.

       78.      Attached as Exhibit C are affidavits and reports in compliance with 735 ILCS 5/2-

622.

       WHEREFORE, the Plaintiff, CHARLES WORTHAM, a minor, by SHAKITA

WATKINS, his mother, demands judgment against Defendant, MOUNT SINAI HOSPITAL

MEDICAL CENTER OF CHICAGO; in an amount in excess of $50,000 (FIFTY THOUSAND

DOLLARS) together with the costs of this action.

                                       COUNT IX
        (Negligence – Mount Sinai Hospital Medical Center of Chicago - Physicians)

       NOW COMES, the Plaintiff, CHARLES WORTHAM, a minor, by SHAKITA

WATKINS, his mother; and by and through her attorneys, The Bryant Law Group, LLC, and

complaining of Defendants, MOUNT SINAI HOSPITAL MEDICAL CENTER OF CHICAGO,

state as follows:

       79.      On or about April 13, 2013, and at all times material, MOUNT SINAI

HOSPITAL MEDICAL CENTER OF CHICAGO (“MOUNT SINAI”) was an Illinois Not-For-

Profit Corporation operating as a general hospital licensed by the State of Illinois in the City of

Chicago.

       80.      On or about April 13, 2013, and all times material, MOUNT SINAI held itself out
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to the public generally as a provider of medical and nursing services.

         81.   On or about April 13, 2013, and all times material, MOUNT SINAI undertook to

employ physicians for the purpose of providing medical care and treatment to individuals like

SHAKITA WATKINS and CHARLES WORTHAM.

         82.   On or about April 13, 2013, SHAKITA WATKINS was admitted to the labor and

delivery department of MOUNT SINAI.

         83.   On April 13, 2013, physicians provided medical care and treatment to SHAKITA

WATINS and CHARLES WORTHAM, during the labor of SHAKITA WATKINS and delivery

of CHARLES WORTHAM.

         84.   While providing medical care and treatment to SHAKITA WATKINS and

CHARLES WORTHAM, the physicians were doing so as employees and agents of MOUNT

SINAI.

         85.   While providing medical care and treatment of SHAKITA WATKINS and

CHARLES WORTHAM, DR. ALLYSSA VAN DYK was doing so as an apparent agent of

MOUNT SINAI.

         86.   While providing medical care and treatment to SHAKITA WATINS and

CHARLES WORTHAM, DR. ALLYSSA VAN DYK, as agent of MT. SINAI, had a duty to

possess and apply the knowledge and use the skill and care that a reasonably careful obstetrician

would use in the same or similar circumstances.

         87.   Defendant, MOUNT SINAI, by and through its physicians, including Dr.

ALLYSA VAN DYK, breached its duties and was negligent in one or more of the following

respects:

               (a) Failed to obtain proper informed consent prior to attempting a vaginal
                   delivery;
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                (b) Failed to order a c-section in a timely manner;
                (c) Applied excessive traction during the delivery of Charles Wortham;
                (d) Performed or ordered an episiotomy while infant still at plus 2 station.

   88. As a direct and proximate result of one or more of the foregoing negligent acts and/or

         omissions of the Defendant, MOUNT SINAI, by and through its nurses, CHARLES

         WORTHAM suffered personal and pecuniary injuries, including, but not limited to,

         brachial plexus palsy.

         89.    Attached as Exhibit C are affidavits and reports in compliance with 735 ILCS 5/2-

622.

         WHEREFORE, the Plaintiff, CHARLES WORTHAM, a minor, by SHAKITA

WATKINS, his mother, demands judgment against Defendant, MOUNT SINAI HOSPITAL

MEDICAL CENTER OF CHICAGO; in an amount in excess of $50,000 (FIFTY THOUSAND

DOLLARS) together with the costs of this action.



                                        COUNT X
           (Family Expense Act – Mount Sinai Hospital Medical Center of Chicago)

   90.          Plaintiff, SHAKITA WATKINS, individually, restates, realleges and incorporates

         by reference paragraphs 69 through 89 of Count XIII and IX, including all

         subparagraphs, as paragraph 90 of Count X.

         91.    CHARLES WORTHAM is a minor; and SHAKITA WATKINS is his mother,

and as such has become liable for substantial pecuniary amounts arising out of CHARLES

WORTHAM’s injuries. The recovery of the above-mentioned expenses is set forth under the

provisions of the Family Expense Act, 750 ILCS 65/15.
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          WHEREFORE, the Plaintiff, SHAKITA WATKINS, individually; demands judgment

against Defendants, MOUNT SINAI HOSPITAL MEDICAL CENTER OF CHICAGO; in an

amount in excess of $50,000 (FIFTY THOUSAND DOLLARS) together with the costs of this

action.




                                                Respectfully submitted,

                                                THE BRYANT LAW GROUP, LLC.


                                                By:    /s/ Aaron J. Bryant
                                                       Aaron J. Bryant



Aaron J. Bryant (ARDC # 6277195)
The Bryant Law Group, LLC.
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